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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 MAI-AJAH KEEL;                                    §
                                                   §
                  Plaintiff,                       §
                                                   §
                                                   § Case No.:
                                                   §
 v.                                                §
                                                   §
 DELAWARE STATE UNIVERSITY                         §
 BOARD OF TRUSTEES; CANDY                          §
 YOUNG, in her individual capacity;                §
                                                   §
 PAULA DUFFY, in her individual                    §
 capacity; and RANDOLPH JOHNSON, in                §
 his individual capacity                           §
                                                   §
                  Defendants.                      §
                                                   §



                                COMPLAINT AND JURY DEMAND

         Plaintiff Mai-Ajah Keel, through her attorneys, submits this Complaint and states the

following:

                                   PARTIES AND JURISDICTION

      1. Defendant Delaware State University Board of Trustees (“Trustees”) is the official

         governing body of Delaware State University (“Delaware State”) and is charged with

         operating and governing Delaware State, a public university located in Dover, Delaware.

      2. Defendant Candy Young was at all times relevant, the Director of the Title IX Office at

         Delaware State.       Plaintiff is informed and believes and thereon alleges that as the

         Director of the Title IX Office, Defendant Candy Young was responsible for participating

         in making, communicating, enforcing and implementing all policies and practices at

         Delaware State with respect to Title IX, including insuring Delaware State’s policies and

         procedures concerning Title IX comply with federal law.
      3. Defendant Paula Duffy is, and was at all times relevant, the Director of the Office of

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   Judicial Affairs at Delaware State. Plaintiff is informed and believes and thereon alleges

   that as the Director of the Office of Judicial Affairs, Defendant Paula Duffy is

   responsible for overseeing the enforcement of Delaware State policies, regulations, and

   rules, including but not limited to compliance with the Student Code of Conduct, as well

   as implementing and overseeing any judicial proceedings relative to alleged violations of

   Delaware State policies, regulations, and rules and sanctions issued by the judicial body.

4. Defendant Randolph Johnson is, and was at all times relevant, the Director of Bands at

   Delaware State.     Plaintiff is informed and believes and thereon alleges that as the

   Director of Bands at Delaware State, Defendant Randolph Johnson is responsible for

   overseeing all band activities at Delaware State including providing supervision,

   direction, and insuring the safety of all band participants.

5. Plaintiff Mai-ajah Keel (“Keel”) was, at all times relevant, a student at Delaware State.

6. Delaware State receives federal financial assistance and is therefore subject to the dictates

   of 20 U.S.C. § 1681. (“Title IX”)

7. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.

8. Venue in this Court is proper under 28 U.S.C. § 1391 (b) because the events giving rise to

   this claim took place in this judicial district, and Defendants reside in this judicial district.



                     Background Facts Related to Plaintiff Mai-ajah Keel

9. Keel enrolled at Delaware State in the fall of 2011 as an 18-year-old freshman.

10. Delaware State awarded Keel a scholarship to participate in the Delaware State marching

   band, where she became acquainted with fellow Delaware State student and marching

   band member, Jason Faustin (“Faustin”).

11. Faustin served in a leadership role within the marching band, as well as a Residential

   Assistant and Junior Class President for Delaware State.
12. Beginning in September of 2012, Faustin began pursuing Keel sexually.                   Faustin


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   regularly engaged in harassing behavior towards Keel. He made sexually aggressive and

   offensive statements such as “I want to eat you out,” oftentimes at a whisper. Keel

   repeatedly expressed to Faustin that she was not interested in him and that she only

   wished to be friends, yet Faustin’s sexual advances persisted.

13. On or about the evening of Friday, November 22, 2013, the Delaware State marching

   band completed a performance and Keel visited Faustin’s residence at a residential dorm

   on the Delaware State campus along with two other band members at Faustin’s

   insistence.   Faustin provided alcoholic beverages to Keel and the other two band

   members.

14. After approximately an hour and a half, Faustin indicated he needed to go to the front

   desk of the residential dorm to begin his shift as Residential Assistant. Keel intended to

   leave with her other two friends. However, Faustin insisted that Keel remain behind for a

   couple of minutes ostensibly so he could apologize for his previous sexually aggressive

   behavior.     The two other band members left Faustin’s residence to pick up another

   friend, intending toreturn to pick up Keel.

15. After her friends left, Keel accompanied Faustin down to the residential dorm front desk,

   where Faustin apologized for his previous behavior. Faustin then ordered pizza and went

   to the main entrance to get it. Keel decided she wanted to go home to sleep as the band
   had another performance the following day and called her friends and told them they no

   longer needed to pick her up as she was going home. When Faustin returned, he shared

   the pizza with Keel and she informed him she was leaving but needed to retrieve some

   personal items she inadvertently left in his dorm room..

16. Once Keel was back in Faustin’s dorm room, Faustin came in and surprised Keel. He

   forcefully pinned Keel down, started ripping her clothes off and began to sexually assault

   her. Keel repeatedly said “no” and told Faustin to stop He did not stop. Eventually, Keel

   was able to kick him off her, grab her personal items, and run out the door.
17. In the days following the incident, Keel informed another band member and mutual
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   friend of her and Faustin about the sexual assault. In response, the friend informed Keel

   that Faustin had a problem and this was not the first time he had done something like this.

18. The following Monday, Keel reported the sexual assault to Dr. Brian Stark, a professor of

   criminology at Delaware State. Keel described her sexual assault to Dr. Stark, who

   referred Keel to Dr. Kylee Parrotta, an assistant professor in the sociology and criminal

   justice department at Delaware State. Keel again described her sexual assault to Dr.

   Parrotta, who in turn referred her to Dr. Pauline Meek in the counseling services

   department at Delaware State.

19. Upon meeting with Dr. Meek, Keel informed her of the sexual assault as well as

   expressing her fear of encountering Faustin on campus.

20. Delaware State failed to proceed with proper Title IX investigative and adjudicative

   procedures and instead wrongly facilitated mediation between Faustin and Keel. A

   couple of weeks after the sexual assault, Keel and Faustin met with Dr. Meek. At this

   meeting, Faustin apologized to Keel and agreed that he would no longer contact Keel,

   including no longer touching or talking to her. Dr. Meek took no further action.

21. Delaware State wrongly ignored and otherwise failed to respond to Keel’s allegations of

   sexual assault in a timely manner. In addition to the previously mentioned Delaware

   State professors and administrators, Keel informed the Delaware State band director,
   Randolph Johnson, of the sexual assault via email on multiple occasions. In response,

   Mr. Johnson informed Keel that Delaware State lawyers instructed him not to respond to

   her.

22. Delaware State failed to respond appropriately to reports of ongoing harassment. Keel

   continued to attend counseling with Dr. Meek until February 2015. During this time,

   Faustin continued to repeatedly hug, touch, and attempt to speak with, and otherwise

   contact Keel despite his promises to stop. Faustin hugged Keel at band practice on an

   almost daily basis, making Keel angry and uncomfortable. Keel repeatedly informed Dr.
   Meek of Faustin’s inappropriate and unwelcomed advances.
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23. Because Delaware State failed to timely investigate her allegations of sexual assault and

   wholly ignored her reports of ongoing harassment, Keel was left vulnerable and in fear.

   She turned to the Delaware State University Police Department (DSUPD). On or about

   August 22, 2014 and again on or about February 4, 2015, Keel reported the rape through

   silent witness forms on the DSUPD website. Both entries were received by DSUPD Both

   reports referenced the sexual assault that occurred on the Delaware State campus. Both

   reports identified “J. Faustin” as the perpetrator, as well as Faustin’s positions as both a

   Residential Advisor and Junior Class President. Keel is informed and believes and on the

   basis alleges that, despite a report as early as August 2014, DSUPD did not initiate an

   investigation until after the February 4th, 2015 silent witness report.

24. Keel provided a detailed account to DSUPD of the injury perpetrated upon her by Faustin

   and his danger to students on campus. On or about February 5, 2015,. Keel detailed the

   rape to DSUPD Sergeant Joi Simmons, including that she told Faustin “no” and asked

   him to stop, but he continued to assault her. Keel advised Sergeant Simmons that Faustin

   has a history of this behavior and identified five additional women who shared with her

   that they had similar experiences with Faustin. Keel also informed Sergeant Simmons

   that she had suffered both mental and emotional anguish since the sexual assault. Later

   that day, Sergeant Simmons spoke with Faustin. Sergeant Simmons informed Faustin the
   interview was in reference to a report of questionable sexual behavior, specifically rape.

   When asked if he was aware of what Sergeant Simmons was referencing, Faustin

   indicated there was an incident in November 2013 with a friend who he later identified to

   Sergeant Simmons as Keel. Faustin then voluntarily confessed to raping Keel. Faustin

   admitted to Sergeant Simmons that Keel said stop several times and he did not stop.

   Faustin acknowledged to Sergeant Simmons that he knew what he did was wrong and he

   always knew that there was a possibility he could be arrested for it. This information,

   including Faustin’s confession, was reported to the Delaware State Title IX office on
   February 6, 2015 at the latest. On or about February 19, 2015, Keel provided additional
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   detail to DSUPD through a victim statement, which was memorialized in a report. Per

   the report, Keel indicated: “RA (J. Faustin) sexually assaulted me during the month of

   November 2013 [sic] it’s unfortunate that as a student residing on campus I have to

   encounter this predator every day. His known tactics of providing females with alcoholic

   beverages and then stripping them of their clothing has haunted me and a few others for

   some time.” Keel also indicated: “Even with counseling I freeze up and ignite with anger

   every single time his name is mentioned, [sic] he walks in a room and when he

   awkwardly (and publicly) “hugs” me, I hate it. I understand people make mistakes, but I

   am not the first, nor am I the last person he has traumatized.”

25. During the DSUPD investigation, Keel reported her concern that she had to interact with

   Faustin daily, that she continued to feel harassed by Faustin, and that her grades suffered.

   Keel shared a class with Faustin in which her grade dropped from a 90 to a 45.

26. After speaking with Sergeant Simmons, Keel also spoke with Delaware State Title IX

   coordinator Candy Young.       Keel detailed the rape and subsequent harassment she

   suffered to Ms. Young. She also informed Ms. Young of her academic struggles and that

   she shared class with Faustin. Despite this, Ms. Young failed to offer accommodations to

   Keel. Further, despite agreeing to provide Keel with a no contact order, Ms. Young

   never followed through with enacting a no contact order.
27. Delaware State failed to respond appropriately to Keel’s reports of ongoing harassment.

   The investigation eventually resulted in Faustin’s arrest. After the arrest, several of

   Faustin’s friends repeatedly subjected Keel to ongoing harassment and retaliation;

   including making aggressive gestures and calling her derogatory names such as “hoe”

   and “bitch.” On one occasion near the band room, Keel overheard a band member

   encouraging other band members to push Keel when she walked past them. This band

   member then attempted to engage Keel in a physical altercation.             Keel informed

   Delaware State of the ongoing harassment, yet Delaware State did nothing in response to
   protect Keel or stop the harassing behavior.
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28. Delaware State employees also subjected Keel to harassment and retaliation. As Keel

   struggled with the ramifications of the sexual assault and the ongoing retaliatory behavior

   from other students, her attendance at band functions decreased. In response, Assistant

   Band Director Lenny Knight made harassing comments to Keel such as that he was tired

   of people who did not show up for band or who did not care because of “bullshit” and

   “drama.” Mr. Knight berated Keel for “making big things out of little things.” When

   Keel informed Mr. Knight about the harassing behavior of the other students, he ignored

   her concerns and made no attempt to stop the behavior.

29. Delaware State failed to provide reasonable accommodations to Keel and made no effort

   to take any interim measures to remedy the effects of the harassment As a result, Keel

   suffered both academic and economic consequences. Keel continued to struggle

   academically and saw a substantial drop in her grades making any hope of graduating

   cum laude, a previously achievable goal, not possible. Keel also lost her scholarship.

   Keel stopped attending band functions regularly and was unable to join a sorority on

   campus. Keel turned to drugs and alcohol as a coping mechanism and used both at a

   substantially higher rate than before the sexual assault. Through Delaware State’s

   investigation, prior to any adjudication hearings, DSUPD spoke to several other female

   students who indicated Faustin also engaged in inappropriate and unwelcome sexual
   conduct with them while they were students at Delaware State.

30. Between approximately February 16, 2015 and February 20, 2015, DSUPD spoke with

   several female students, other than Keel, who reported that Faustin had sexually assaulted

   them, describing facts similar to Keel’s report of rape. This included at least three

   women who reported that Faustin either attempted to or actually engaged in sexual

   intercourse with them despite repeatedly telling him that they did not consent to sex.

   Each report described Faustin as persisting in his attempts to engage in sexual intercourse

   after they would tell him “no,” requiring some to have to push him off and flee. DSUPD
   also learned during this time that Faustin kept a library of pictures on his computer of
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   women engaging in sex acts with him who either did not know or otherwise did not

   consent to their pictures being taken.

31. DSUPD also learned during these interviews that Faustin had a reputation, known to

   several of the victims and others, of engaging in similar conduct with other women.

   Faustin was known to provide alcohol to women and persistently push them into sexual

   intercourse. Then, after the fact, Faustin would be very cordial and apologetic for his

   actions. Through these interviews, DSUPD was also informed that at least one victim

   was fearful of reporting Faustin as she had seen Keel experience a great deal of backlash

   and retaliation from others as a result of coming forward.

32. After interviewing various witnesses and victims concerning Faustin’s conduct at

   Delaware State, Sergeant Simmons reported great concern about the Delaware State

   campus environment, which Simmons felt influenced victims to refrain from cooperation

   with law enforcement. She shared this concern with Delaware State administration,

   citing retaliation experienced by Keel from the marching band, including Mr. Johnson, as

   evidence of the hostile environment that existed on the campus.

33. Delaware State failed to provide an equitable and impartial adjudication process. In

   March of 2015, Delaware State began a series of hearings to adjudicate whether Faustin

   was responsible for the sexual assault and rape of Keel. One of the deciding members of
   the panel was Faustin’s former employer, which presented a conflict of interest.

34. Also, Keel was not allowed to attend all of the hearings. Several of the hearings were

   scheduled during convenient times for Faustin, but during inconvenient times for Keel as

   she had exams, requiring her to miss certain hearings or parts of certain hearings. Keel

   repeatedly informed Delaware State that hearings were set during exams such as

   midterms and finals, however, scheduling accommodation was not made for Keel. Keel

   also missed other portions of hearings either due to Delaware State failing to provide her

   notice or because she was not allowed in the room during certain portions of hearings.
35. In addition, both parties were not given equal opportunity to hear all aspects of the case
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   and ask questions. While Faustin heard all of Keel’s statements, Keel was not permitted

   to hear all of Faustin’s statements. Also, Keel requested representation and/or advocacy

   at every hearing but did not receive any; in contrast,          Faustin had representation

   throughout the entire process by a Delaware State professor and lawyer.

36. Delaware State failed to implement proper training relating to the investigation and

   adjudication of Title IX claims. The panel tasked with adjudicating the complaint against

   Faustin appeared unprepared and asked inappropriate questions The panel was not

   presented with evidence of Faustin’s confession to the rape despite Delaware State being

   aware, prior to the beginning of the adjudication hearings, not only of Faustin’s

   confession, but also the reports of at least three other sexual assault victims of Faustin’s.

   Delaware State failed to come to a reasonably prompt resolution of Keel’s complaint. On

   or about March 31, 2015, the panel hearing the complaint found Faustin “not

   responsible” for the sexual assault, rape, and harassment of Keel. On or about April 2,

   2015, Keel appealed this decision based on various procedural and substantive

   deficiencies including the failure to consider Faustin’s confession to the rape. Keel’s

   appeal and request for new hearing was granted on or about April 14, 2015 based on a

   “lack of due process, i.e. when a student can show an error in the hearing or arbitrariness

   in the finding against the weight of the evidence.”
37. On or about May 11, 2015, a second panel found Faustin “responsible” for the sexual

   assault and rape of Keel. In its rationale, Delaware State indicated that, at the hearing,

   Faustin again admitted he heard Keel say “no” and “stop” more than once during the

   incident. As a result, Delaware State sanctioned Faustin by suspending him for “a

   minimum of one (1) academic year—specifically, 2015-2016.”

38. In its rationale supporting the sanction, Delaware State indicated the following: “Having

   been found responsible for the sexual assault and rape of the complainant, the respondent

   is in violation of the General Standards of Conduct and Decorum and has exhibited
   violent behavior by sexually assaulting and raping the complainant. (Delaware State
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    University, Division of Student Affairs Student Judicial Handbook, p. 5) Furthermore,

    the complainant has a right to continue her education and feel as though she is

    matriculating in a safe and secure academic environment. The complainant is now a

    senior. Removing the respondent for at least the 2015-2016 academic year will provide

    the complainant with the opportunity to do so.”

 39. Delaware State informed Keel that Faustin would not be allowed on campus, but assured

    her that if he were to come on campus, she would be informed and provided a police

    escort.

 40. Despite Delaware State’s finding that Faustin had exhibited violent behavior, and despite

    being aware of multiple reports of sexual assault by Faustin from multiple victims,

    Delaware State failed to follow through with its sanction, further subjectin Keel to a

    hostile environment. In or about September of 2015, Delaware State allowed Faustin

    back on campus, Keel visited a building on campus where she regularly had class. She

    walked into her advisor’s office where she came into direct contact with Faustin who was

    sitting in the faculty member’s office as well. This unexpected contact causedKeel great

    shock and fear. Delaware State did not inform Keel of Faustin’s presence on campus,

    advise her ofany change to his sanction which would have permitted him to be on

    campus, or offer any any security measures to ensure her safety as promised
 41. Keel is informed and believes and on that basis alleges that Faustin was allowed on the

    Delaware State campus, in violation of Delaware State’s findings and sanctions on

    multiple occasions. In each of these instances, Delaware State failed to inform Keel of

    Faustin’s presence on campus, any change to the previous sanction, or any security

    measures to ensure her safety. Keel is informed and believes and on that basis alleges

    that Delaware State was informed in February 2015 that Faustin was previously seen on

    campus despite issuance of a no contact order. Nevertheless, Delaware State again

    allowed Faustin on campus after his suspension.
 42. In response, Keel confronted both the Delaware State Title IX office and the Judicial
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    Affairs office regarding Delaware State’s failure to adequately enforce its findings

    regarding the sexual assault and rape of Keel and its failure to adequately protect Keel.

    Each office denied responsibility and instructed Keel to address the issue with the other

    office. Paula Duffy, the Director of the Office of Student Judicial Affairs, informed Keel

    via email, “We apologize that you felt uncomfortable and that you were unaware of Mr.

    Faustin’s presents [sic] on campus yesterday afternoon. As The Office of Judicial Affairs

    does not manage Title IX cases any longer, we too were unaware that he was due to be on

    campus yesterday. The Office of Title IX, under Ms. Candy Young overseas [sic] all

    Title IX cases. As we informed you yesterday when you came to our office seeking

    clarity, the best place to gain a better understanding is with the Title IX Office directly.

    Again, we apologize for any trouble this may have caused and I will forward your email

    to the Office of Title IX immediately.” Similarly, Ms. Young denied responsibility,

    telling Keel in-person that the Judicial Affairs office was in charge of the arrangement

    with Faustin.

 43. Keel also informed Sergeant Simmons and Dr. Dorothy Dillard, chair and associate

    professor with Delaware State’s Department of Sociology and Criminal Justice, who,

    while acknowledging that “the process is flawed and problematic,” offered no solution.

    Delaware State failed to follow up any further with Keel regarding this incident.
 44. Delaware State’s failure to enforce the sanction imposed on Faustin coupled with its

    refusal to acknowledge responsibility for taking measures to protect Keel, subjected her

    to an even greater hostile environment resulting in further loss of educational

    opportunity. Due to her ongoing fear for her safety and due to the increasingly hostile

    environment she faced at Delaware State, Keel isolated herself, locking herself in her

    room regularly and refusing to go to different areas of campus. Keel was constantly

    exposed to this sexually hostile environment until she graduated and left Delaware State

    on December 21, 2015.
 45. After failing several classes due to the emotional impact of the assault and Delaware
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    State’s deliberate indifference, Keel graduated later than her originally intended

    graduation date and at a substantially lower grade point average than she was otherwise

    capable due to the sexual assault and Delaware State’s failures. As her result, her plans to

    attend graduate school were negatively impacted.

 46. After Keel graduated, Delaware State again violated its own sanction by reinstating

    Faustin on or about January 13, 2016, well before the adjudicated time period. Delaware

    State readmitted Faustin under the condition that he “abide by the Student Code of

    Conduct,” stating his past actions “were of poor judgment and not representative of the

    mature and responsible behavior we hope to develop in our Delaware State University

    students.”

 47. Based on information and belief, Delaware State failed to properly train and educate

    their employees, including school officials, officers, investigators, and adjudicators in

    appropriate response to allegations of sexual harassment, sexual abuse, and retaliatory

    conduct, as well as necessary Title IX policies and procedures.

 48. Delaware State failed to adequately educate Delaware State students, including but not

    limited to Faustin, on the dangers of sexual harassment, assault and retaliatory conduct,

    including but not limited to the impact of such conduct on victims.

 49. These failures, and others, amounted to an intentional violation of Title IX by Delaware
    State.

 50. Delaware State also acted with deliberate indifference towards Keel’s reports of sexual

    assault and retaliation to several different school departments as reflected by Delaware

    State’s actions and inaction alleged herein.

 51. Based upon information and belief, Keel alleges that Delaware State did not conduct

    mandatory educational sessions or programs regarding the topics of alcohol abuse, sexual

    misconduct and or student rights and remedies under state and federal law. If in fact

    Delaware State did provide any such educational sessions or programs, they failed to
    ensure that such programs or sessions were attended by Delaware State students.
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  52. As a result of Delaware State’s actions and inaction in response to Keel’s report of sexual

     assault by Faustin and the ongoing retaliation and harassment she experienced, Keel was

     deprived of a multitude of educational opportunities and/or benefits, including but not

     limited to:

             A significant drop in her grades;

             An inability to join a sorority;

             A decrease in her participation in marching band;

             Avoidance of other social activities on campus;

             Avoidance of certain areas of campus;

             A loss of her scholarship that she had earned to attend Delaware State.


                     FIRST CAUSE OF ACTION
DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF 20 U.S.C. § 1681
                             (TITLE IX)
                 (AGAINST DEFENDANT TRUSTEES)

  53. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth herein.

  54. Trustees’ acts and failures to act perpetrated against Plaintiff amounted to unlawful

     sexual harassment and discrimination on the basis of gender.             The harassment and

     discrimination was sufficiently severe and pervasive to create an abusive, and hostile

     educational environment for Plaintiff. One or more Delaware State administrators or
     officials, with authority to take corrective action on Plaintiff’s behalf, had actual notice of

     said harassment and discrimination and failed to adequately respond, in violation of their

     own policies. Those failures amounted to deliberate indifference toward the unlawful

     sexual conduct and retaliatory conduct that had occurred, was occurring, or was likely to

     occur.    As a result, Plaintiff was subject to continuing harassment and a loss of

     educational opportunity.

  55. Additionally, and/or in the alternative, Trustees failed to enact and/or disseminate and/or
     implement proper or adequate procedures to discover, prohibit or remedy the kind of


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    discrimination that Plaintiff suffered. This failure included, without limitation, non-

    existent or inadequate customs, policies or procedures for the recognition, reporting,

    investigation and correction of unlawful discrimination, and the failure to properly vet

    students in positions of importance and influence such as Residential Assistant and Junior

    Class President. Those failures amounted to deliberate indifference toward the unlawful

    sexual conduct and retaliatory conduct that had occurred, was occurring, or was likely to

    occur.    As a result, Plaintiff was subject to continuing harassment and a loss of

    educational opportunity.

 56. Trustees acted with deliberate indifference in deviating significantly from the standard of

    care outlined by the Department of Education in the Dear Colleague Letter of 2011, the

    Questions and Answers of 2014 and Trustees’ own policies.

 57. Trustees intentionally violated Title IX by remaining deliberately indifferent to a sexually

    hostile culture at Delaware State University that created a heightened risk for Plaintiff,

    and other female students, to be sexually assaulted and subject to additional sexual

    misconduct.

 58. Because of Trustees’ deliberate indifference, Plaintiff suffered loss of educational

    opportunities and/or benefits and has and will continue to incur attorney fees and costs of

    litigation.
 59. As a result of the above-described conduct, Plaintiff has suffered, and continues to suffer,

    great pain of mind and body, physical injury, shock, emotional distress, physical

    manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

    humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually;

    was prevented and will continue to be prevented from performing Plaintiff's daily

    activities and obtaining the full enjoyment of life; has sustained and will continue to

    sustain loss of earnings and earning capacity; and/or has incurred and will continue to

    incur expenses for medical and psychological treatment, therapy, and counseling.

                             SECOND CAUSE OF ACTION
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 42 U.S.C. § 1983 -VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE
   FOURTEENTH AMENDMENT OF THE UNITED STATES CONSTITUTION

 60. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

 61. At all times relevant herein, Defendants Young, Duffy, and Johnson acted under the color

    of state law, under color of their authority as agents of Delaware State University and

    within the scope of their employment with Delaware State University.

 62. Defendants Young, Duffy, and Johnson’s deliberate indifference, and willful and wanton

    behavior, created a danger of and increased the risk of harm to Plaintiff.

 63. Defendants Young, Duffy, and Johnson’s conduct was intentional, and motivated by

    gender.

 64. Defendants Young, Duffy, and Johnson violated Plaintiff’s civil rights by having a policy

    that, when enforced, caused a constitutional deprivation to Plaintiff, or by having a

    widespread practice and/or custom that, although not authorized by written law or

    express municipal policy, was so permanent and well settled as to constitute a custom or

    usage with the force of law.

 65. Defendants Young, Duffy, and Johnson knew about the above-described conduct and

    facilitated it, approved it, condoned it, and/or turned a blind eye to the conduct.

 66. The above-described conduct of Defendants Young, Duffy, and Johnson constitutes a

    violation of the Equal Protection Clause of the Fourteenth Amendment of the United
    States Constitution. Plaintiff is entitled to compensatory damages for physical injury,

    emotional pain, suffering, mental anguish and other non-pecuniary losses.




                                   RELIEF REQUESTED

    WHEREFORE, Plaintiff prays for damages; punitive damages; costs; interest;

 statutory/civil penalties according to law; attorneys’ fees and costs of litigation, pursuant to
 42 U.S.C. §1988 or other applicable law; and such other relief as the court deems appropriate


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   and just.




               PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL CLAIMS


Dated: December 19, 2017           Respectfully submitted,

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